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 7
                                UNITED STATES DISTRICT COURT
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 9                           SOUTHERN DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                           Case No. 19CR1850-AJB
11                       Plaintiff,                    PROTECTIVE ORDER
12             v.
13 JOHN TIMOTHY EARNEST

14                       Defendant.
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          Based on the parties’ joint motion, IT IS ORDERED that:
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          1.        The parties shall not show or provide discovery to, or discuss the contents of
19
     discovery with, anyone besides the defense team, the prosecution team, the Court
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21   (including Pretrial Services or U.S. Probation), the state prosecution team, and Earnest’s

22   state defense team. The only exception is a party may show or give a witness discovery or
23   talk to the witness about the discovery.
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          2.        Each party shall confer with the opposing party before filing or lodging with
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     the Court materials received in discovery and give the opposing party an opportunity to
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     object that the submission should be sealed.
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28        3.        This Order does not apply to proceedings in open court.
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 1        4.     Defense team means employees of Federal Defenders, Inc. or any other
 2   present or future law firms or attorneys representing Earnest in this case, any experts
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     retained by same, and any persons who are included within the attorney-client or work
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     product privilege, regardless of whether they receive any remuneration. Prosecution team
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     means employees of the U.S. Attorney’s office, the Department of Justice, and any law

 7   enforcement agency that worked on or is working on this case and any experts retained by
 8   same. State prosecution team means employees of the San Diego County District
 9   Attorney’s office and any experts retained by same. State defense team means any
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     employees of the firm(s) or attorney(s) representing Earnest in his state prosecution and
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     any investigators or experts retained by same.
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          IT IS SO ORDERED.

14 Dated: June 14, 2019

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